
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 02-05-099-CV





MCCLAIRY JACKSON	APPELLANT



V.



FRANK HOKE, R. WATHEN, GRIEVANCE	APPELLEE

INVESTIGATOR #212, D. FORD, AND V. BARROW



------------



FROM THE 89
TH
 DISTRICT COURT OF WICHITA COUNTY



------------



MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT



------------

On April 19, 2005 and May 6, 2005, we notified appellant, in accordance with rule of appellate procedure 42.3(c), that we would dismiss this appeal unless the $125 filing fee was paid. &nbsp;
See
 
Tex. R. App. P.
 42.3(c). &nbsp;Appellant has not paid the $125 filing fee. &nbsp;
See
 
Tex. R. App. P.
 5, 12.1(b).



Because appellant has failed to comply with a requirement of the rules of appellate procedure and the Texas Supreme Court's order of July 21, 1998,
(footnote: 2) we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P
. 42.3(c), 43.2(f).

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P.
 42.1(d).



PER CURIAM



PANEL D:	GARDNER, WALKER, and MCCOY, JJ.



DELIVERED: June 2, 2005

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.


2:July 21, 1998 “Order Regarding Fees Charged in Civil Cases in the Supreme Court and the Courts of Appeals,” 971-972 S.W.2d (Tex. Cases) XXXVIII (1998).




